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     8
     9
                              UNITED STATES DISTRICT COURT
   10
                            CENTRAL DISTRICT OF CALIFORNIA
   11
   12 JOSE VALENZUELA, individually and             Case No.: 2:24-cv-00257-MRA-JPR
      on behalf of all others similarly situated,
   13                                               Assigned to Hon. Mónica Ramírez
                                 Plaintiffs,        Almadani
   14
      v.                                            DEFENDANT EVERI GAMES INC.’S
   15                                               REPLY IN SUPPORT OF MOTION
      EVERI GAMES INC., and DOES 1                  TO DISMISS AND/OR STRIKE
   16 through 10, inclusive,                        PLAINTIFF’S SECOND AMENDED
                                                    COMPLAINT PURSUANT TO FED.
   17                            Defendants.        R. CIV. P. 12(b)(6) AND 12(f)
   18                                               Hearing Date: May 30, 2024
                                                    Hearing time: 1:30 p.m.
   19                                               Courtroom: 10B
   20
                                                    Date filed: November 17, 2023
   21                                               Removal Date: January 10, 2024
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     1 I.     INTRODUCTION
     2        Plaintiff started this action with a recycled boilerplate complaint used against
     3 other corporate defendants on behalf of other plaintiffs. Then, in response to Defendant
     4 Everi Games Inc.’s (“Everi”) meet and confer efforts, he filed a First Amended
     5 Complaint (“FAC”) that added some meritless generic wage and hour claims on behalf
     6 of a large putative class in the hopes of coercing a quick settlement. When that did not
     7 go to plan, Everi filed a motion to dismiss and a motion to strike the FAC, which the
     8 Court promptly and properly granted, albeit with leave to amend. The Court dismissed
     9 all of Plaintiff’s claims—including the conclusory class action claims and allegations—
   10 in their entirety on the grounds that Plaintiff’s allegations relied “only on legal
   11 conclusions rather than well-pleaded facts.” See Doc. No. 19 (“Order”) at 5 n.3. This
   12 established the law of the case.
   13         After receiving a third opportunity to try to state a claim, Plaintiff squandered it
   14 by filing a Second Amended Complaint (“SAC”) without any meaningful changes to
   15 the key allegations and simply repeating the same conclusory allegations with no
   16 additional well-pleaded facts. See Doc. No. 29-2, Ex. 1. The minimal changes Plaintiff
   17 made to the SAC failed to address, let alone cure, the many fatal deficiencies identified
   18 by Everi and the Court in the motion to dismiss the FAC and the Order granting it.
   19 Plaintiff is now barred by the law of the case doctrine from relitigating these issues.
   20         Out of moves, Plaintiff’s counsel makes the tired (and false) accusation that
   21 Everi’s counsel failed to meet and confer in good faith before filing this motion. This
   22 accusation is a false and transparent attempt to distract from the fact that Plaintiff not
   23 only recycled a meritless, generic complaint, but the vast majority of the arguments in
   24 Plaintiff’s opposition to Everi’s motion to dismiss the SAC are the same failed
   25 arguments copied and pasted verbatim that the Court previously considered and
   26 rejected in response to Everi’s motion to dismiss the FAC. See, e.g., Miller Decl. Ex. A
   27 (redline comparison of relevant portions of Plaintiff’s oppositions to Everi’s motions
   28 to dismiss the FAC and the SAC). Plaintiff’s behavior is egregious. In addition to
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     1 wasting Everi’s resources and the Court’s time, this only serves to underscore that the
     2 SAC is wholly meritless and any further leave to amend would be futile. Everi
     3 respectfully requests that the Court dismiss the SAC in its entirety, this time with
     4 prejudice.
     5 II.     LEGAL ARGUMENT
     6         A.     Plaintiff Applies The Incorrect Legal Standard
     7         As a threshold matter, Plaintiff argues the incorrect pleading standard throughout
     8 his opposition to the SAC (Doc. No. 34, “Opposition”). As set forth in Everi’s motion
     9 to dismiss the SAC (Doc. No. 29, “Motion”), it is well established that a complaint
   10 must articulate “enough facts to state a claim to relief that is plausible on its face.” Bell
   11 Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). The Court recognized this in its
   12 Order granting the prior motion to dismiss, establishing law of the case. Plaintiff’s
   13 claim that the SAC is sufficient because it “pleads ‘short and plain statement of the
   14 claims’ that could have happened” (Opp. at 1:10-11 (emphasis added)) is flat wrong.
   15 That is not the pleading standard in federal court. The plausibility standard “asks for
   16 more than a sheer possibility that a defendant has acted unlawfully” or “facts that are
   17 ‘merely consistent with’ a defendant’s liability.” Ashcroft v. Iqbal, 556 U.S. 662, 678
   18 (2009) (quoting Twombly, 550 U.S. at 556-57). Instead, “[a] claim has facial
   19 plausibility when the plaintiff pleads factual content that allows the court to draw the
   20 reasonable inference that the defendant is liable for the misconduct alleged.” Id. at 678
   21 (emphasis added). The SAC falls far short of satisfying the correct pleading standard.
   22          To the extent Plaintiff argues that the Court should assume the veracity of well-
   23 pleaded factual allegations, as in Carlson v. CSX Transp., Inc., 758 F3d 819, 827 (7th
   24 Cir. 2014), this well-worn precept is inapplicable here because the threadbare facts
   25 alleged by Plaintiff in the SAC and argued in his Opposition to this Motion “do not
   26 permit the court to infer more than the mere possibility of misconduct.” Iqbal, 556 U.S.
   27 at 679. Rather, “the [SAC] has alleged—but it has not ‘shown’—that the pleader is
   28 entitled to relief.” Id. (internal brackets and quotation marks omitted). Moreover, the
                                                    2
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     1 two cases Plaintiff relies on for the proposition that motions to dismiss are disfavored
     2 are inapplicable because they are based on the old pleading regime before Twombly and
     3 Iqbal. Opp. at 7:22-28. Thus, dismissal is warranted.
     4         B.    The Unpaid Overtime And Minimum Wage Claims Still Fail
     5         Plaintiff argues that “the proper question for a 12(b)(6) motion is: could Everi
     6 Games have failed to pay Plaintiff all overtime hours worked over 8+ hours a shift?”
     7 Opp. at 9:11-12 (emphasis added). But this is incorrect. Plaintiff must allege sufficient
     8 factual content to show that his claims are plausible rather than merely alleging “a sheer
     9 possibility that a defendant has acted unlawfully,” as Plaintiff does here. See Iqbal, 556
   10 U.S. at 678. Because Plaintiff fails to plausibly allege sufficient facts showing his
   11 entitlement to relief (see Mot. at 8:7-9:21), Plaintiff’s allegations are insufficiently pled
   12 and may not be accorded any presumption of truth. See Iqbal, 556 U.S. at 686 (“[T]he
   13 Federal Rules do not require courts to credit a complaint's conclusory statements
   14 without reference to its factual context.”).
   15          In any event, rather than respond to Everi’s arguments regarding the sparse new
   16 allegations in the SAC, Plaintiff summarily claims that he was paid below the minimum
   17 wage and that he did comply with Landers by quoting the SAC. Opp. at 9:19-10:18.
   18 These conclusory allegations are insufficient for the reasons set forth in Everi’s Motion,
   19 which Plaintiff does not address. See Mot. at 8:7-9:21. Plaintiff then cut-and-pasted all
   20 of the same failed arguments he raised in his opposition to Everi’s motion to dismiss
   21 the FAC as to why the pleading standard in Landers v. Quality Commc’ns, Inc., 771
   22 F.3d 638 (9th Cir. 2014) should not apply. Compare Opp. at 10:1-11:27 with Doc. No.
   23 17 at 5:7-6:26; see Miller Decl. Ex. A. But this Court already considered and rejected
   24 those arguments. Specifically, Plaintiff repeats his arguments that Landers does not
   25 apply because it is a “non-California case” and “deals with claims for overtime and
   26 minimum wage under FLSA only.” Opp. at 10:17-11:28. Everi already responded to
   27 these arguments in detail in its briefing on the motion to dismiss the FAC (see Doc. No.
   28
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     1 18 at 1:28-4:4),1 and the Court approved and adopted Everi’s reasoning and rejected
     2 Plaintiff’s attempts to distinguish Landers in its Order dismissing Plaintiff’s entire
     3 FAC. See Order at 4-5.
     4         The Court’s holdings in its Order constitute law of the case and should not be
     5 disturbed. See, e.g., Gonzalez v. Arizona, 677 F.3d 383, 390 (9th Cir. 2012) (“Under
     6 the law of the case doctrine, a court will generally refuse to reconsider an issue that has
     7 already been decided by the same court or a higher court in the same case.”); Pit River
     8 Home & Agr. Co-op. Ass’n v. United States, 30 F.3d 1088, 1096 (9th Cir. 1994)
     9 (holding that, barring certain exceptions not applicable here, “[a] decision on a factual
   10 or legal issue must be followed in all subsequent proceedings in the same case in the
   11 trial court . . . .”) (citation omitted); Magnesystems, Inc. v. Nikken, Inc., 933 F. Supp.
   12 944, 949 (C.D. Cal. 1996) (“Commonly, the law of the case doctrine arises in the
   13 context of a single court adhering to its own rulings.”). The law of the case extends
   14 both to matters explicitly and implicitly decided by the Court in its prior ruling. See
   15 Magnesystems, Inc., 933 F. Supp. at 949 (“Under this doctrine, issues decided at an
   16 earlier stage of the litigation, either explicitly or by necessary inference from the
   17 disposition of the issues, constitute the law of the case.”) (citation omitted); Garamendi
   18 v. Altus Fin. S.A., 282 F.R.D. 270, 273 (C.D. Cal. 2012) (“A prior ruling need not be
   19 expressly made, or discussed in any detail, to serve as the law of the case; decisions
   20 that are implicit, or terse, will suffice.”).
   21          Plaintiff’s improper attempt to relitigate whether Landers applies should be
   22 summarily rejected for the reasons set forth in Everi’s prior reply brief (Doc. No. 18)
   23 and under the law of the case doctrine. As Plaintiff fails to otherwise respond to the
   24
   25
      1
        As Plaintiff wholesale copied nearly all of his arguments in opposition to Everi’s
   26 motion to dismiss the FAC (Doc. No. 17) verbatim in the instant Opposition (Doc. No.
      34), Everi incorporates all of its prior briefing (Doc. Nos. 16, 18) by reference, as Everi
   27 already thoroughly addressed these arguments. See Fed. R. Civ. P. 10(c) (“A statement
      in a pleading may be adopted by reference elsewhere in the same pleading or in any
   28 other pleading or motion.”).
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     1 arguments raised in Everi’s Motion, these claims are properly dismissed with prejudice.
     2 See Mot. at 8:7-9:21.
     3        C.     Plaintiff’s Meal And Rest Break Violation Claims Fail
     4        Plaintiff again misstates the controlling pleading standard. See Opp. at 13:24-
     5 14:3. The question is not “could Everi Games have failed to provide Plaintiff lawful
     6 meal periods and rest breaks.” Opp. at 13:24-25 (emphasis added). Instead, “only a
     7 complaint that states a plausible claim for relief survives a motion to dismiss.” Iqbal,
     8 556 U.S. at 679 (emphasis added). Regardless, Plaintiff’s Opposition again copies
     9 verbatim from his opposition to Everi’s motion to dismiss the FAC and repeats all of
   10 his same fallacious arguments as to why Landers should not apply. Compare Opp. at
   11 14:8-26 with Doc. No. 17 at 7:25-8:22; see Miller Decl. Ex. A. Everi already responded
   12 to these exact arguments in its prior reply brief (see Doc. No. 18 at 4:6-5:2), and the
   13 Court already rejected Plaintiff’s attempts to distinguish Landers in its Order
   14 dismissing Plaintiff’s FAC in its entirety. See Order at 4-5. Accordingly, the same result
   15 should attain here for the reasons previously set forth by Everi in its prior reply brief
   16 and under the law of the case doctrine. See Pit River, 30 F.3d at 1096; Magnesystems,
   17 Inc., 933 F. Supp. at 949. Plaintiff should be estopped from attempting to re-litigate the
   18 same issue.
   19         Other than challenging the application Landers—which the Court already
   20 determined is the proper standard—Plaintiff makes no attempt to address Defendant’s
   21 arguments that Plaintiff’s meal and rest break claims should be dismissed other than to
   22 quote the SAC. Compare Mot. at 10:2-11:7 with Opp. at 12:3-13:23. But these
   23 allegations remain deficient for the reasons set forth in Everi’s Motion. For example,
   24 he “fails to allege how long it took him to travel to the casino, what work he performed,
   25 how long it took, how many hours he worked that day, why he did not and could not
   26 take his meal and rest breaks, and critically, how Everi supposedly impeded him from
   27 doing so.” Mot. at 10:7-13. As the Court aptly put it:
   28
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     1               Nor does the 1st AC’s allegation that Plaintiff worked alone
                     state sufficient facts to support Plaintiff’s meal break and rest
     2               period claims. Plaintiff was a traveling technician, not
                     working on an assembly line that could not stop or staffing
     3               an office or storefront by himself that could not close during
                     business hours. The facts contained in the 1st AC therefore
     4               do not support plausible meal break and rest period claims or
                     explain how Defendant impeded Plaintiff from taking meal
     5               breaks and rest periods.
     6 Order at 5.
     7        The SAC fails to address these issues or provide any plausible allegations in
     8 support. Instead, Plaintiff relies on some unidentified phantom “SLA” agreement that
     9 is not attached to the SAC. See Mot. at 4:10-23, 10:27-11:7. Its core relevant terms are
   10 not identified. Everi has no idea what this phantom agreement is and has not seen it.
   11 Nor does Plaintiff demonstrate how a supposed agreement between Everi and its
   12 customers to provide prompt service violates state and federal labor laws or how it
   13 impacts Plaintiff. Moreover, inasmuch as this phantom agreement is not attached to
   14 or part of the SAC, it is outside the four corners of the complaint and cannot be relied
   15 upon by Plaintiff to overcome a motion to dismiss. See, e.g., Khoja v. Orexigen
   16 Therapeutics, Inc., 899 F.3d 988, 998 (9th Cir. 2018) (“Generally, district courts may
   17 not consider material outside the pleadings when assessing the sufficiency of a
   18 complaint under Rule 12(b)(6)” unless such material is subject to judicial notice or
   19 some other narrow exception, which is not invoked by Plaintiff here). Nor may such
   20 extrinsic evidence be cited, relied upon, or considered by the Court in deciding a motion
   21 to dismiss. See, e.g., Fed. R. Civ. P. 12(d) (“If, on a motion under Rule 12(b)(6) or
   22 12(c), matters outside the pleadings are presented to and not excluded by the court, the
   23 motion must be treated as one for summary judgment under Rule 56. All parties must
   24 be given a reasonable opportunity to present all the material that is pertinent to the
   25 motion.”). Accordingly, any allegations related to this unidentified agreement are
   26 improper extrinsic evidence that may not be considered on a motion to dismiss and
   27 these claims should be dismissed with prejudice.
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     1        D.     Plaintiff’s Wage Statement Violation Claim Remains Defective
     2        Plaintiff’s opposition to the motion to dismiss his wage statement violation claim
     3 is a verbatim copy of his opposition to Everi’s motion to dismiss the FAC. Compare
     4 Opp. at 14:28-16:6 with Doc. No. 17 at 9:2-10:9; see Miller Decl. Ex. A. Everi already
     5 responded to these exact arguments in its prior reply brief (see Doc. No. 18 at 5:4-6:18)
     6 and the Court rejected Plaintiff’s arguments in its Order dismissing Plaintiff’s FAC in
     7 its entirety. See Order at 4-5. The same result should attain here for the reasons
     8 previously set forth by Everi in its prior reply brief and under the law of the case
     9 doctrine. See Pit River, 30 F.3d at 1096; Magnesystems, Inc., 933 F. Supp. at 949.
   10 Plaintiff did not add any new facts to the SAC reflecting a single instance of Everi
   11 failing to furnish him with timely and accurate wage statements and he makes no other
   12 attempt to respond to Everi’s arguments in its Motion regarding this claim. See Mot. at
   13 11:9-12:3. Dismissal with prejudice is appropriate.
   14         E.     The Waiting Time Penalties Claim Remains Implausible
   15         As with his other claims, Plaintiff’s opposition to Everi’s motion to dismiss the
   16 waiting time penalties claim is a verbatim copy of the same failed arguments he made
   17 in his opposition to Everi’s motion to dismiss the FAC. Compare Opp. at 16:9-17:1
   18 with Doc. No. 17 at 10:12-11:5; see Miller Decl. Ex. A. Everi already responded to
   19 these exact arguments in its prior reply brief (see Doc. No. 18 at 6:21-7:12), and the
   20 Court rejected Plaintiff’s arguments in its Order dismissing Plaintiff’s FAC in its
   21 entirety. See Order at 4-5. The same result should attain here for the reasons previously
   22 set forth by Everi in its prior reply brief and under the law of the case doctrine. See Pit
   23 River, 30 F.3d at 1096; Magnesystems, Inc., 933 F. Supp. at 949. As Plaintiff did not
   24 add any new facts to the SAC supporting his entitlement to relief, including that any
   25 violations by Everi were “willful” or even that Plaintiff was not timely paid wages upon
   26 termination (Mot. at 12:5-22), and he makes no other attempt to respond to Everi’s
   27 arguments, dismissal with prejudice is appropriate.
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     1         F.    The UCL Claim Still Fails For Several Reasons
     2         As with his other claims, Plaintiff’s opposition to Everi’s motion to dismiss the
     3 Unfair Competition Law claim is a verbatim copy of the same arguments made in his
     4 opposition to Everi’s motion to dismiss the FAC. Compare Opp. at 17:8-19:3 with Doc.
     5 No. 17 at 11:12-13:9; see Miller Decl. Ex. A. Everi already responded to these exact
     6 arguments in its prior reply brief (see Doc. No. 18 at 7:14-8:10), and the Court rejected
     7 Plaintiff’s arguments in its Order dismissing Plaintiff’s FAC in its entirety. See Order
     8 at 4-5. The same result should attain here for the reasons previously set forth by Everi
     9 in its prior reply brief and under the law of the case doctrine. See Pit River, 30 F.3d at
   10 1096; Magnesystems, Inc., 933 F. Supp. at 949. As Plaintiff makes no other attempt to
   11 respond to Everi’s arguments in its Motion (Mot. at 12:24-13:13), dismissal with
   12 prejudice is appropriate.
   13          G.    The PAGA Claim Should Be Dismissed With Prejudice
   14          Plaintiff’s opposition to the motion to dismiss his Private Attorney General Act
   15 (“PAGA”) claim is a verbatim copy of his opposition to Everi’s motion to dismiss the
   16 FAC. Compare Opp. at 19:5-20:3 with Doc. No. 17 at 13:11-14:10; see Miller Decl.
   17 Ex. A. Everi already responded to these exact arguments in its prior reply brief (see
   18 Doc. No. 18 at 8:12-9:13), and the Court rejected Plaintiff’s arguments in its Order
   19 dismissing Plaintiff’s FAC in its entirety. See Order at 4-5. Although Plaintiff now
   20 attaches his PAGA Notice to the Labor and Workforce Development Agency to the
   21 SAC as required, this falls far short of a cure. The PAGA claim remains fatally
   22 defective in substance and on the merits and should be dismissed with prejudice
   23 because, as set forth by Everi in its prior reply brief and under the law of the case
   24 doctrine, Plaintiff’s underlying substantive claims fail. See Pit River, 30 F.3d at 1096;
   25 Magnesystems, Inc., 933 F. Supp. at 949. As Plaintiff makes no other attempt to respond
   26 to Everi’s arguments in its Motion (Mot. at 13:15-14:3), dismissal with prejudice is
   27 appropriate.
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     1         H.    The FLSA Claim Should Be Dismissed With Prejudice
     2         Plaintiff’s opposition to the motion to dismiss his Fair Labor Standards Act
     3 (“FLSA”) claim is a verbatim copy of his opposition to Everi’s motion to dismiss the
     4 FAC. Compare Opp. at 20:5-7 with Doc. No. 17 at 14:12-14; see Miller Decl. Ex. A.
     5 Everi already responded to these exact arguments in its prior reply brief and the Court
     6 rejected Plaintiff’s arguments in its Order dismissing Plaintiff’s FAC in its entirety. See
     7 Order at 4-5. The same result should attain here because, as set forth by Everi in its
     8 prior reply brief and under the law of the case doctrine, Plaintiff’s underlying
     9 substantive claims fail. See Pit River, 30 F.3d at 1096; Magnesystems, Inc., 933 F.
   10 Supp. at 949. As Plaintiff makes no other attempt to respond to Everi’s arguments in
   11 its Motion (Mot. at 14:5-14), dismissal with prejudice is appropriate.
   12          I.    The Court Should Dismiss And/Or Strike All Of The Class Action
   13                Allegations And Claims Again, This Time With Prejudice
   14          Plaintiff’s opposition to Everi’s motion to dismiss the class action allegations
   15 and claims is also a verbatim copy of the same arguments he made in his opposition to
   16 Everi’s motion to dismiss and motion to strike the FAC, which the Court rejected.
   17 Compare Opp. at 20:11-23:16 with Doc. No. 17 at 14:18-17:19; see Miller Decl. Ex.
   18 A. Plaintiff does nothing more than repeat his arguments that the Rule 8 pleading
   19 standard does not apply to class allegations. Id. Everi already responded to these exact
   20 arguments in its prior reply brief (see Doc. No. 18 at 9:18-11:21) and the Court already
   21 rejected these arguments in its Order dismissing Plaintiff’s FAC in its entirety. See
   22 Order at 4-5.
   23          In fact, in dismissing Plaintiff’s class allegations and claims, the Court explicitly
   24 held that such claims are measured “under Rule 8(a)’s federal pleading standard,” and
   25 found that “Plaintiff’s allegations in support of his effort to pursue claims on behalf of
   26 a class similarly suffer from relying only on legal conclusions rather than well-pleaded
   27 facts.” See Order. at 5 n.3. The Court’s holding is law of the case and Plaintiff should
   28 be estopped from re-litigating the same failed arguments.
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     1         Nevertheless, despite the Court’s prior admonition, Plaintiff made no substantive
     2 changes to his class action allegations in the SAC and he simply repeats the same
     3 arguments. See Doc. No. 29-2, Ex. 1 at ¶¶ 37-44. Accordingly, the same result should
     4 attain here for the reasons previously set forth by Everi in its prior reply brief and under
     5 the law of the case doctrine. See Pit River, 30 F.3d at 1096; Magnesystems, Inc., 933 F.
     6 Supp. at 949. As Plaintiff makes no other attempt to respond to Everi’s arguments in
     7 its Motion (see Mot. at 14:17-19:8), including Everi’s additional argument that early
     8 dismissal of the putative class claims is necessary to avoid discovery abuse (Mot. at
     9 16:19-17:7), dismissal with prejudice is appropriate.
   10          Alternatively, Everi’s motion to strike Plaintiff’s class action allegations and
   11 claims should be granted on the grounds that Plaintiff’s class allegations fail to satisfy
   12 Rule 23. See Mot. at 17:10-19:8; Doc. No. 18 at 9:18-11:21 (rebutting Plaintiff’s
   13 opposition). Plaintiff fails to address or overcome these arguments.
   14          J.     Plaintiff’s Requests For Injunctive Relief Must Be Stricken
   15          Plaintiff’s opposition to the motion to dismiss his injunctive relief claim is yet
   16 again a verbatim copy of his opposition to Everi’s motion to dismiss the FAC. Compare
   17 Opp. at 23:18-27 with Doc. No. 17 at 17:21-18:3; see Miller Decl. Ex. A. Everi already
   18 responded to Plaintiff’s exact same argument in its prior reply brief. See Doc. No. 18
   19 at 11:23-12:15. As Plaintiff is no longer an Everi employee, there is no conduct to
   20 enjoin because the purported issues are not capable of repetition (see Mot. at 19:10-24).
   21 Plaintiff’s requests for injunctive relief must be stricken for lack of standing and
   22 because it is not a proper remedy under these circumstances. Plaintiff does not cite any
   23 authority to the contrary, leaving this argument unrebutted.
   24          K.     Everi Met And Conferred In Good Faith
   25          Plaintiff’s claim that Everi’s counsel failed to meet and confer in good faith is
   26 completely meritless. See Opp. at 5:26-7:19. As this Court previously held, Plaintiff’s
   27 FAC failed to state any claim because it was devoid of sufficient factual content. See
   28 Order at 4-5. That is because, contrary to Plaintiff’s boilerplate claims, Everi has not
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     1 violated the law or done anything wrong. Accordingly, given Plaintiff’s refusal to
     2 dismiss his meritless complaint, even when the Court’s Order granting Everi’s motion
     3 to dismiss the FAC was clear, unequivocal, determinative, and left no room for any
     4 possibility that Plaintiff could amend to cure the defects, Everi expected that Plaintiff’s
     5 counsel would nonetheless file a SAC. Everi also fully expected that any SAC would
     6 be similarly faulty and would not come close to curing the numerous fatal defects
     7 identified in the Court’s Order.
     8         As Everi predicted, Plaintiff’s SAC was just as devoid of plausible factual
     9 content as the FAC and it failed to address the deficiencies identified by Everi and the
   10 Court. Everi’s counsel properly met and conferred prior to filing this motion. See Miller
   11 Decl. ¶¶ 3-7. And Everi’s motion to dismiss the SAC is entirely proper and warranted.
   12 Everi also properly requested judicial notice of another of Plaintiff’s counsel’s
   13 complaints from which he copied almost verbatim many of the exact same allegations
   14 set forth in this case. See Doc. No. 29-3. As set forth in Everi’s Motion, Plaintiff’s
   15 wholesale copying from prior complaints against other corporate defendants without
   16 specific supporting factual allegations highlights the fact that Plaintiff’s SAC is filled
   17 with boilerplate rather than well-pleaded allegations. See Mot. at 4:24-5:11. Regardless,
   18 as Plaintiff does not oppose Everi’s Request for Judicial Notice, this grievance is
   19 irrelevant.
   20          Plaintiff also argues that Everi did not meet and confer sufficiently before
   21 bringing its Motion. See Opp. at 6:20-7:16. In doing so, however, he grossly
   22 misrepresents the record. Plaintiff filed his SAC on March 4, 2024. Doc. No. 24. As
   23 anticipated, the SAC was woefully deficient for the reasons set forth in Everi’s motion
   24 to dismiss the FAC and the Court’s Order granting the same. Accordingly, on March
   25 10, 2024, Everi’s counsel requested to meet and confer with Plaintiff’s counsel
   26 regarding the deficiencies in the SAC and the parties’ upcoming Joint Case
   27 Management Statement. Miller Decl. ¶ 3, Ex. B. On the call on March 11, 2024, Everi’s
   28 counsel explained that Plaintiff’s SAC remained defective for the reasons identified in
                                                  11
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     1 the prior motion to dismiss and in the Court’s Order dismissing the FAC, and that Everi
     2 would be moving to dismiss on that basis—as Everi in fact did in the instant Motion.
     3 Id. ¶ 4. This is explicitly memorialized in the parties’ March 14, 2024, Joint Case
     4 Management Statement—which the parties also telephonically met and conferred about
     5 on the March 11, 2024, call between counsel:
     6        Everi contends that the changes Plaintiff made in the SAC do not
              sufficiently address the defects that the Court identified in its prior order
     7        dismissing the case, and as such Everi will be filing another motion to
              dismiss as to the SAC.
     8        ...
     9        Given the complete lack of any factual allegations in the prior FAC and
              the inability of the parties to resolve any of the issues underlying
   10         Plaintiff’s defective claims during the meet and confer process, Everi
              reasonably anticipated that it would move to dismiss and/or strike the
   11         future SAC on grounds similar to the FAC. Having reviewed Plaintiff’s
              SAC, it is clear that this is indeed the case, and Everi anticipates that it
   12         will move to dismiss the SAC for many of the same reasons identified in
              Everi’s prior motion, and for the reasons set forth in the Court’s order
   13         dismissing the FAC. Plaintiff’s claim that Everi is not acting in good faith
              and “only intend[s] to cause delay” by moving to dismiss Plaintiff’s
   14         defective SAC is unsupported and inappropriate.
   15 Doc. No. 28 at 4:21-24, 9:20-10:2.
   16         Everi’s counsel did not state that “the motion will argue that California’s labor
   17 code is preempted and not applicable here” (Opp. at 6:23-7:1) as Plaintiff claims. Miller
   18 Decl. ¶ 4. Instead, Everi’s counsel noted that, as a factual matter, several of the casinos
   19 where Plaintiff worked are located on federally recognized tribal lands, and state law
   20 labor code claims and other claims may be defective for this reason. Id. ¶ 4. While
   21 Plaintiff’s counsel further claims “Everi Games never provided Plaintiff with any
   22 relevant legal authority or evidence” (Opp. at 7:4-5), to the extent Plaintiff is referring
   23 to the tribal lands issue Everi’s counsel did not agree to any such request which in any
   24 event is irrelevant because Everi did not make this argument in the prior motion to
   25 dismiss or in the current Motion. See id.
   26         During the call, Everi attempted to work with Plaintiff’s counsel regarding the
   27 deficiencies in the SAC to try and narrow some or all of the claims. Miller Decl. ¶ 5.
   28 But Plaintiff’s counsel refused to engage, instead repeatedly asking “what other
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     1 allegations do you want me to make” and “tell me what I should allege in the complaint”
     2 to avoid a motion to dismiss before bizarrely threatening to bring a Rule 11 motion
     3 against Everi and its counsel. Id. Everi’s counsel informed Plaintiff’s counsel that Everi
     4 still does not believe any violation of law occurred here, and that while Everi was
     5 willing to meet and confer in good faith, it was inappropriate for Plaintiff’s counsel to
     6 demand that Everi’s counsel advise Plaintiff on how to plead his allegations, or to
     7 threaten baseless Rule 11 sanctions. Id. ¶ 6.
     8         In short, Plaintiff’s request that the Court deny Everi’s Motion for allegedly
     9 failing to meet and confer in good faith is a transparent and misguided effort to distract
   10 from the numerous deficiencies in the SAC, and Plaintiff’s false accusations should be
   11 summarily rejected.
   12          L.     Further Leave To Amend Would Be Futile
   13          As Plaintiff has already amended the complaint two times and, given the
   14 extremely clear and definitive Order granting the motion to dismiss the FAC and
   15 Plaintiff’s utter failure to address or cure those defects, despite being given further leave
   16 to amend, it is clear that the complaint cannot be saved by further amendment. See
   17 Ecological Rts. Found. v. Pac. Gas & Elec. Co., 713 F.3d 502, 520 (9th Cir. 2013)
   18 (“Although a district court ‘should freely give leave [to amend] when justice so
   19 requires,’ the court’s discretion to deny such leave is ‘particularly broad’ where the
   20 plaintiff has previously amended its complaint.’”) (internal citations omitted). Thus, the
   21 SAC should be dismissed with prejudice and without further leave to amend.
   22 III.     CONCLUSION
   23          Everi respectfully requests that Plaintiff’s SAC be dismissed or stricken in its
   24 entirety. As Plaintiff has already had three opportunities to attempt to state a claim for
   25 relief and failed, further amendments would be futile. Everi respectfully requests
   26 dismissal of this action with prejudice.
   27
   28
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     1
                                                Respectfully submitted,
     2     DATED: May 16, 2024                  GLASER WEIL FINK HOWARD
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     6                                              Everi Games Inc.
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     1                    L.R. 11-6.2 CERTIFICATE OF COMPLIANCE
     2         The undersigned, counsel of record for Defendant Everi Games Inc., certifies
     3 that this brief contains 4,662 words, which complies with the word limit of L.R. 11-
     4 6.1.
     5
     6     DATED: May 16, 2024                  Respectfully submitted,
     7                                          GLASER WEIL FINK HOWARD
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     8
     9                                          By: /s/ Elizabeth A. Sperling
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   10                                               Alexander R. Miller
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   11                                               Everi Games Inc.
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